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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY



 UNITED STATES OF AMERICA, et al.,

                           Plaintiffs,

                      v.                              Case No. 2:24-cv-04055 (JXN) (LDW)

 APPLE INC.,

                           Defendant.




                STIPULATION AND [PROPOSED] ORDER RE BRIEFING
                       SCHEDULE ON MOTION TO DISMISS

       Plaintiffs United States of America, and the State of New Jersey, State of Arizona, State

of California, District of Columbia, State of Connecticut, State of Maine, State of Michigan,

State of Minnesota, State of New Hampshire, State of New York, State of North Dakota, State of

Oklahoma, State of Oregon, State of Tennessee, State of Vermont, and State of Wisconsin,

acting by and through their respective Attorneys General (collectively, “Plaintiffs”), and

Defendant Apple Inc. (“Defendant”), hereby stipulate as follows:

       WHEREAS, Plaintiffs filed their Complaint on March 21, 2024;

       WHEREAS, Defendant waived service of the Complaint pursuant to Fed. R. Civ. P. 4(d);

       WHEREAS, Defendant intends to file a motion to dismiss pursuant to Fed. R. Civ. P. 12;

       WHEREAS, the Court’s judicial preferences require Defendant to submit a letter

requesting a pre-motion conference before filing its motion to dismiss;

       THEREFORE, in the interest of efficiency, the parties agree and stipulate to the

following schedule:

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      1. Defendant will submit its letter requesting a pre-motion conference on or before May

          21, 2024;

      2. Plaintiffs will submit their written response to Defendant’s letter on May 30, 2024;

      3. If the Court determines either that it cannot resolve the dispute at the pre-motion

          conference or that a conference would not be helpful, Defendant will file its motion to

          dismiss 7 days after such determination, but in no event sooner than June 17, 2024;

      4. Plaintiffs will file their opposition 35 days after Defendant files its motion; and

      5. Defendant will file its reply 21 days after Plaintiffs file their opposition.




 Dated: May 13, 2024                                /s/ Jonathan H. Lasken
                                                    Jonathan H. Lasken
                                                    United States Department of Justice
                                                    450 Fifth Street, NW, Suite 4000
                                                    Washington, D.C. 20530
                                                    Tel: (202) 598-6517
                                                    Email: jonathan.lasken@usdoj.gov

                                                    Attorneys for Plaintiff United States of
                                                    America


 Dated: May 13, 2024                                /s/ Isabella R. Pitt
                                                    Isabella R. Pitt (NJ Bar No. 071002013)
                                                    Deputy Attorney General
                                                    Assistant Section Chief of Antitrust Division
                                                    New Jersey Office of the Attorney General
                                                    124 Halsey Street, 5th Floor
                                                    Newark, NJ 07101
                                                    Tel: (973) 648-3070
                                                    Email: Isabella.Pitt@law.njoag.gov

                                                    Attorneys for Plaintiff State of New Jersey

 Dated: May 13, 2024                                /s/ Justin Moor
                                                    Justin Moor
                                                    Assistant Attorney General

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                                          455 Minnesota Street, Suite 1400
                                          Saint Paul, MN 55101-2130
                                          Tel.: (651) 724-9627
                                          Email: justin.moor@ag.state.mn.us


                                          Attorneys for Plaintiff State of Minnesota

 Dated: May 13, 2024                      /s/ Liza M. Walsh
                                          Liza M. Walsh
                                          Douglas E. Arpert
                                          Walsh Pizzi O’Reilly Falanga LLP
                                          Three Gateway Center
                                          100 Mulberry Street, 15th Floor
                                          Newark, New Jersey 07102
                                          Tel.: (973) 757-1100
                                          Email: LWalsh@walsh.law
                                                  DArpert@walsh.law

                                          Craig S. Primis, P.C.
                                          K. Winn Allen, P.C.
                                          Kirkland & Ellis LLP
                                          1301 Pennsylvania Avenue, N.W.
                                          Washington, DC 20004
                                          Tel.: (202) 389-5000
                                          Email: craig.primis@kirkland.com
                                                  winn.allen@kirkland.com

                                          Devorah W. Allon
                                          Kirkland & Ellis LLP
                                          601 Lexington Avenue
                                          New York, NY 10022
                                          Tel.: (212) 446-5967
                                          Email: devora.allon@kirkland.com

                                          Attorneys for Defendant Apple Inc.


 IT IS SO ORDERED.

 Dated: ________, 2024                    _________________
                                          HON. JULIEN XAVIER NEALS
                                          United States District Judge




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